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                       UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF TEXAS

                              DALLAS DIVISION


RICHARD J. ISOLDE, Individually and § Civil Action No. 3:15-cv-02093-K
on Behalf of All Others Similarly     § (CONSOLIDATED)
Situated,                             §
                                      § CLASS ACTION
                          Plaintiff,  §
                                      § Judge Ed Kinkeade
      vs.                             §
                                      §
TRINITY INDUSTRIES, INC., et al.,     §
                                      §
                          Defendants. §




                       FINAL JUDGMENT AND ORDER OF
                         DISMISSAL WITH PREJUDICE
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        This matter came before the Court for hearing pursuant to the Order

Preliminarily Approving Settlement and Providing for Notice (“Notice Order”) dated

November 12, 2019, on the application of the Settling Parties for approval of the

Settlement set forth in the Stipulation of Settlement dated September 23, 2019 (the

“Settlement Agreement”). Due and adequate notice having been given to the Class as

required in the Notice Order, and the Court having considered all papers filed and

proceedings had herein and otherwise being fully informed in the premises and good

cause appearing therefore, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

that:

        1.   This Final Judgment incorporates by reference the definitions in the

Settlement Agreement, and all terms used herein shall have the same meanings as set

forth in the Settlement Agreement, unless otherwise set forth herein.

        2.   This Court has jurisdiction over the subject matter of the Action and over

all Settling Parties to the Action, including all members of the Class.

        3.   The Court hereby certifies for the purposes of the Settlement only, the

Action as a class action pursuant to Rules 23(a) and 23(b)(3) of the Federal Rules of

Civil Procedure on behalf of the Class defined as: “all persons and entities who

purchased or otherwise acquired publicly traded Trinity common stock between

February 16, 2012 and April 24, 2015, inclusive (the “Class Period”), and were

damaged thereby.” Excluded from the Class are: (i) Defendants; (ii) the Immediate

Family Members of the Individual Defendants; (iii) the officers and directors of Trinity

during the Class Period and their Immediate Family Members; (iv) any parents,
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subsidiaries, or affiliates of Trinity; (v) any firm, trust, corporation, or other entity in

which any Defendant has, or had during the Class Period, a controlling interest; and

(vi) the legal representatives, affiliates, heirs, successors-in-interest, or assigns of any

such excluded person or entity. Also excluded from the Class are the persons and

entities listed on Exhibit 1 hereto who or which are excluded from the Class pursuant

to request.

       4.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the

purposes of the Settlement only, the Court hereby certifies Plaintiffs as Class

Representatives for the Class and appoints Lead Counsel as Class Counsel for the Class.

Plaintiffs and Lead Counsel have fairly and adequately represented the Class both in

terms of litigating the Action and for purposes of entering into and implementing the

Settlement and have satisfied the requirements of Federal Rules of Civil Procedure

23(a)(4) and 23(g), respectively.

       5.     Pursuant to Federal Rule of Civil Procedure 23, this Court hereby

approves the Settlement set forth in the Settlement Agreement and finds that said

Settlement is, in all respects, fair, reasonable, and adequate to the Class.

       6.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

finds that the Settlement Agreement and the Settlement are fair, reasonable, and

adequate as to each of the Settling Parties, and that the Settlement Agreement and

Settlement are hereby finally approved in all respects, and the Settling Parties are

hereby directed to perform its terms.


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      7.     Accordingly, the Court authorizes and directs implementation of all the

terms and provisions of the Settlement Agreement, as well as the terms and provisions

hereof. The Court hereby dismisses, as to Defendants, the Action and all Released

Claims of the Class with prejudice, without costs as to any of the Released Parties,

except as and to the extent provided in the Settlement Agreement and herein.

      8.     Upon the Effective Date, Lead Plaintiffs and each of the other Class

Members, on behalf of themselves and their respective executors, administrators,

successors, predecessors, and assigns, and any other person or entity who has the right,

ability, standing or capacity to assert, prosecute, or maintain on behalf of any Class

Member any of the Released Plaintiffs’ Claims (or to obtain the proceeds of any

recovery therefrom), in such capacity only, shall be deemed to have, and by operation

of this Judgment shall have, fully, finally, and forever released, relinquished, and

discharged against the Released Parties (whether or not such Class Members execute

and deliver the Proof of Claim and Release forms) any and all Released Plaintiffs’

Claims (including, without limitation, Unknown Claims), and shall be permanently

barred and enjoined from the institution, maintenance, prosecution, or enforcement

against any Released Party, in any state or federal court or arbitral forum, or in the

court of any foreign jurisdiction, of any and all Released Plaintiffs’ Claims (including,

without limitation, Unknown Claims).

      9.     Upon the Effective Date, each of the Defendants, on behalf of themselves

and their respective executors, administrators, successors, predecessors, and assigns,

and any other person or entity who has the right, ability, standing or capacity to assert,
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prosecute, or maintain on behalf of any Defendant any of the Released Defendants’

Claims (or to obtain the proceeds of any recovery therefrom), in such capacity only,

shall be deemed to have, and by operation of this Judgment shall have, fully, finally,

and forever released, relinquished, and discharged against Lead Plaintiffs, all Class

Members, and each of their past or present subsidiaries, past or present directors,

officers, employees, partners, insurers, co-insurers, reinsurers, principals, controlling

shareholders, attorneys, accountants, auditors, underwriters, investment advisors,

personal or legal representatives, predecessors, successors, parents, divisions, joint

ventures, assigns, spouses, heirs, estates, related or affiliated entities, and Lead

Plaintiffs’ and Class Members’ Immediate Family Members (“Released Plaintiffs’

Parties”) any and all Released Defendants’ Claims (including, without limitation,

Unknown Claims), and shall be permanently barred and enjoined from the institution,

maintenance, prosecution, or enforcement against any Released Plaintiffs’ Party, in any

state or federal court or arbitral forum, or in the court of any foreign jurisdiction, of

any and all Released Defendants’ Claims (including, without limitation, Unknown

Claims).

      10.    The Notice of Pendency and Proposed Settlement of Class Action given

to the Class in accordance with the Notice Order entered on November 12, 2019 was

the best notice practicable under the circumstances, including the individual notice to

all members of the Class who could be identified through reasonable effort. Said notice

provided the best notice practicable under the circumstances of those proceedings and

of the matters set forth therein, including the proposed Settlement set forth in the
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Settlement Agreement, to all Persons entitled to such notice, and said notice fully

satisfied the requirements of Federal Rule of Civil Procedure 23 and the requirements

of due process.

      11.    Any plan of allocation submitted by Lead Counsel or any order entered

regarding any attorneys’ fee and expense application shall in no way disturb or affect

this Judgment and shall be considered separate from this Judgment.

      12.    Neither the Stipulation nor the Settlement contained therein, nor any act

performed or document executed pursuant to or in furtherance of the Stipulation or

the Settlement (a) is or may be deemed to be or may be used as an admission of, or

evidence of, the validity of any Released Claim, or of any wrongdoing or liability of the

Released Parties; or (b) is or may be deemed to be or may be used as an admission of,

or evidence of, any fault or omission of any of the Released Parties; or (c) is or may be

deemed to be or may be used as an admission or evidence that any claims asserted by

Plaintiffs were not valid or that the amount recoverable was not greater than the

Settlement amount, in any civil, criminal, or administrative proceeding in any court,

administrative agency, or other tribunal. The Released Parties may file the Stipulation

and/or this Judgment in any action that may be brought against them in order to

support a defense or counterclaim based on principles of res judicata, collateral estoppel,

release, good faith settlement, judgment bar or reduction or any other theory of claim

preclusion or issue preclusion or similar defense or counterclaim.

      13.    Without affecting the finality of this Judgment in any way, this Court

hereby retains continuing exclusive jurisdiction over: (a) implementation of this
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Settlement and any award or distribution of the Settlement Fund, including interest

earned thereon; (b) disposition of the Settlement Fund; (c) hearing and determining

applications for attorneys’ fees, interest, and expenses in the Action; and (d) all

Settling Parties hereto for the purpose of construing, enforcing, and administering the

Settlement Agreement.

      14.    The Court finds that during the course of the Action, the Settling Parties

and their respective counsel at all times complied with the requirements of Federal Rule

of Civil Procedure 11.

      15.    In the event that the Settlement does not become effective in accordance

with the terms of the Settlement Agreement, or the Effective Date does not occur, then

this Judgment shall be rendered null and void to the extent provided by and in

accordance with the Settlement Agreement and shall be vacated and, in such event, all

orders entered and releases delivered in connection herewith shall be null and void to

the extent provided by and in accordance with the Settlement Agreement.

      16.    Without further approval from the Court, Plaintiffs and Defendants are

hereby authorized to agree to and adopt such amendments or modifications of the

Settlement Agreement or any exhibits attached thereto to effectuate the Settlement

that: (a) are not materially inconsistent with this Judgment; and (b) do not materially

limit the rights of Class Members in connection with the Settlement. Without further

order of the Court, the Settling Parties may agree to reasonable extensions of time to

carry out any of the provisions of the Settlement Agreement.


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      17.    The Court directs immediate entry of this Final Judgment by the Clerk of

the Court.

      SO ORDERED.

      Signed March 31st, 2020.

                                       ____________________________________
                                       ED KINKEADE
                                       UNITED STATES DISTRICT JUDGE




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                                      EXHIBIT 1

      List of Persons and Entities Excluded from the Class Pursuant to Request




3.       Roger H. Meachum Jr.
6.       Margaret H. Hurley (Rev Tr)
10.      Henry Allen Wheeler
17.      Javier Menendez Cebollada
28.      Judy L. Buddenbaum
30.      Pinnacle Profiteers Investment Club
31.      Donald Parker
32.      John L. Penny
33.      David and Teresa Wiggs




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